Case 1:05-cr-100l7-.]DT Document 8 Filed 06/10/05 Page 1 of 2 Page|D 10

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UNITED STATES DISTRIC'I` C()URT "`LD'C‘
WESTERN DISTRICT oF TENNESSEE 05 JUN l 3 AH _
Eastern Division 8' |6
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F TN JACKSON

-vs- Case N0. 1:05cr10017-01T

GEORGE ELVIN ALLRED

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3 142(1`), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to wit, the defendant is serving a sentence from another case. Defendant
waives detention hearing at this time and may petition Court for review at later date
if necessary

DlRECT|ONS REGARDING DETENTION

GEORGE ELVIN ALLRED is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicabie, from persons awaiting or
serving sentences or being held in custody pending appeal. GEORGE ELVIN ALLRED shall be afforded a reasonable
opportunity for private consultation with defense counsel. On order of a Court of the United States or on request of an
attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceeding

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

This document entered on the dockets eat in compliance
with sure 55 and/or 32(b) snch on i ;QLQ“ *3'@5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-100]7 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Victor Lee Ivy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

